 8:12-cr-00313-JFB-FG3        Doc # 61    Filed: 12/26/12    Page 1 of 1 - Page ID # 131



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                     8:12CR313
       vs.                                 )
                                           )                       ORDER
ENRIQUETA BATIZ,                           )
                                           )
                     Defendant.            )



        This matter is before the court on defendant's MOTION TO EXTEND PRETRIAL
MOTION DEADLINE [57]. For good cause shown, I find that the motion should be granted.
The defendant will be given an approximate 30-day extension. Pretrial Motions shall
be filed by January 25, 2013.

       IT IS ORDERED:

      1.    Defendant's MOTION TO EXTEND PRETRIAL MOTION DEADLINE [57] is
granted. Pretrial motions shall be filed on or before January 25, 2013.

        2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between December 26, 2012 and
January 25, 2013, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel required additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 26th day of December, 2012.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
